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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
  UNITED STATES OF AMERICA,
                                                Criminal No. 21-cr-626
         v.
                                               DEFENDANT GUNBY’S MOTION
  DEREK COOPER GUNBY,                          TO DISMISS THE INFORMATION
                                               FOR FAILURE TO STATE A CLAIM
                          Defendant.


DEFENDANT GUNBY’S MOTION TO DISMISS THE INFORMATION FOR
FAILURE TO STATE A CLAIM
Or, in the alternative,
TO HOLD A PRELIMINARY HEARING TO DETERMINE IF PROBABLE
CAUSE EXISTS TO GO FORWARD IN THIS CASE


COMES NOW Defendant Derek Cooper Gunby (“Gunby”), by and through

undersigned counsel John Pierce, with this Motion to dismiss the information in

this case for failure to state a claim. In the alternative, Gunby asks for a

preliminary hearing to determine if probable cause exists for any of the counts

alleged by the government.

                                       INTRODUCTION

      Gunby is purportedly facing four (4) misdemeanor counts as enumerated in

the complaint and accompanying Statement of Facts (ECF #1):

     18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any
     Restricted Building or Grounds Without Lawful Authority,
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     18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a
     Restricted Building or Grounds,
     40 U.S.C. § 5 l 04(e)(2)(D) - Violent Entry and Disorderly Conduct
     on Capitol Grounds,
     40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in
     a Capitol Building.
      But the Statement of Facts on file simply do not lay out facts which

enunciate sufficient probable cause to charge Gunby with the crimes listed.

The Statement of Facts describes “the Columbia, South Carolina Field

Office of the FBI” receiving “information that DEREK GUNBY had

posted photos and a video to Facebook indicating that he had been involved

in the riot at the Capitol building.”

      Then the Statement of Facts describes details of Gunby’s alleged

posts on Facebook about Gunby’s travels to D.C. on Jan. 6. Nothing

regarding Gunby’s political comments on Facebook, outlined in the

Statement of Facts, constitutes any of the crimes listed.

      Then the Statement of Facts describes “video provided by the U.S.

Capitol Police, which includes security camera footage inside and outside

of the U.S. Capitol building” showing “DEREK GUNBY walking up and

down a hallway inside the Capitol building.” Photos allegedly of Gunby

doing just that are included.
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      Then the Statement of Facts describes the affiant, an FBI officer

going to visit Gunby in Anderson, South Carolina. “[Gunby] stated that he

went to Washington, D.C. on January 6, 2021 to listen to President Trump

speak. He stated that after the President spoke, DEREK GUNBY followed

the crowd that was moving toward the Capitol to protest the “stealing of

the election.” “Your affiant asked DEREK GUNBY if he went inside the

Capitol, to which DEREK GUNBY replied that he did. DEREK GUNBY

stated to your affiant that there was no one stopping him from going in, so

he went in and walked around.”

      Significantly, nothing in the Statement of Facts purports to refute

Gunby’s alleged statement that Gunby entered the Capitol unrestricted on

January 6. The only statements even suggesting the Capitol was restricted

are boilerplate statements copied and pasted at the beginning:

              The U.S. Capitol is secured 24 hours a day by U.S. Capitol
       Police. Restrictions around the U.S. Capitol include permanent and
       temporary security barriers and posts manned by U.S. Capitol
       Police. Only authorized people with appropriate identification are
       allowed access inside the U.S. Capitol. On January 6, 2021, the
       exterior plaza of the U.S. Capitol was also closed to members of the
       public. On January 6, 2021, a joint session of the United States
       Congress convened at the U.S. Capitol, . . .


      Well-settled black-letter law relating to trespass requires that an

individual must have actual, individualized, personal notice that a property
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is restricted before an individual can be accused of trespassing. Neither the

complaint nor the Statement of Facts provided by the government provide

any facts suggesting that such individualized notice occurred with regard to

Mr. Gunby.

      The Statement of Facts then accuses Gunby of crimes by mere

account of Gunby’s mere presence:

       Based on the aforementioned evidence, there is probable cause to
       believe that DEREK GUNBY was present inside the U.S. Capitol
       building during the riot and related offenses that occurred at the
       U.S. Capitol building. located at l First Street, NW, Washington.
       D.C. 20510 on January 6, 2021 and participated in the obstruction
       of the Congressional proceedings.
      Nor does the complaint or the Statement of Facts provide any

specific supporting facts regarding Gunby’s alleged “participation in the

obstruction” of proceedings. How did Gunby participate? What did he

personally do other than “walk up and down a hallway” in the words of the

complaining FBI officer.

      Criminal charges require more than mere presence.

      Accordingly, defendant Gunby requests an order dismissing the

charges against him with prejudice. In the alternative, Gunby request a

preliminary hearing wherein the government must show it has probable

cause to charge Gunby with the listed crimes.
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CERTIFICATE OF ELECTRONIC SERVICE
I hereby certify and attest that on October 7, 2022, I caused this document to be
uploaded and filed in this case, using the electronic filing system established by the
Court. By doing so, I automatically served the document to counsel for the United
States.


                                       /s/ John M. Pierce
                                       John M. Pierce
